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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  ABS HEALTHCARE SERVICES, LLC,                                 CASE NO. 0:21-CV-60859-RKA
  HEALTH OPTION ONE, LLC and
  ONE STOP QUOTES, INC.

                 Plaintiffs,
  vs.

  ANDREW SHADER, COREY SHADER,
  NATIONAL HEALTH SOLUTIONS, INC.,
  INFINIX MEDIA LLC, PRODIGY
  HEALTH GROUP LLC, ADAM
  BEEMAN, JOY STORMONT,
  ALLIANCE MARKETING CORPORATION,
  KRATOS INVESTMENTS LLC, HEALTH
  TEAM ONE LLC, RICHARD RYSCIK,
  SCOTT OFFUTT, BEEMAN’S FUTURE INC.,
  CS MARKETING LLC, and C SHADER
  INVESTMENTS LLC,

              Defendants.
  ______________________________________________/

                                DEFENDANTS’ STATUS UPDATE

         Defendants, Prodigy Health Group LLC, Adam Beeman, Joy Stormont, Kratos

  Investments LLC, Health Team One LLC, Richard Ryscik, Beeman’s Future Inc., and C Shader

  Investments LLC (collectively, “Defendants”), respectfully submit this Status Update. 1

         Unfortunately, Plaintiffs have taken liberty with the Court’s order requiring the parties to

  jointly file with the Court a report regarding the status of arbitration proceedings, and transformed

  the joint status report into a unilateral, ad hominem attack on Defense counsel. Moreover,

  Plaintiffs’ assertion that “defense counsel at Cozen O’Connor has refused to submit a joint filing”

  is simply not correct.


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    This Status Update is only being submitted on behalf of the Defendants identified in the
  exordium. The other defendants in this action may present their own status updates.


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          Defendants’ counsel requested that Plaintiffs prepare an initial draft of the joint report. The

  joint report that the parties filed 30 days ago consisted of a short paragraph which counsel for all

  parties conferred upon before it was filed with the Court as a joint report. This time, however,

  Plaintiffs’ counsel ambushed Defense counsel at 2 p.m. the day the joint report was due with a

  proposed “joint statement” that consisted solely of a 6-page “Plaintiffs’ Position,” and the demand

  that three different sets of Defense Counsel add a single “Defendants’ Position” by 5pm or

  Plaintiffs would file unilaterally. Defendants’ counsel sent several emails expressing their sincere

  belief that the Court did not expect a “joint statement” to basically include lengthy narrative from

  each party, much less the sort of vituperative attack that Plaintiffs seemingly believed to be

  appropriate in a joint filing. Defendants’ counsel also made it clear that they believed the Court

  expected the parties to confer on a truly joint statement that would accurately and factually update

  the Court on the status of the arbitration proceedings.

          Contrary to Plaintiffs’ representations to this Court, Defendants’ Counsel advised that it

  was their position that the parties should be submitting a relatively short status report advising the

  Court as to the status of the three pending arbitrations and raising the issue for which the parties

  require guidance, namely, whether the Court intended the claims in this action to proceed in the

  previously existing arbitrations or in a separate new arbitration. Plaintiffs’ counsel’s response to

  this communication was to file Plaintiffs’ unilateral statement. Attached as Exhibit “A” is a copy

  of the email exchange between counsel plainly showing that Defendants’ counsel never “refused

  to submit a joint filing.”

                               The Need for Clarification And Direction

          Prior to this Court’s Order [ECF No. 51], Plaintiffs were already in court-ordered

  arbitrations with 10 of the 15 defendants in this action. Indeed, at the time that Defendants filed




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  their Joint Consolidated Motion to Dismiss, Abstain, Compel Arbitration and/or Stay (the

  “Motion”) [ECF No. 34], Plaintiffs had been ordered by the Miami-Dade Circuit Court to arbitrate

  the claims Plaintiffs filed against three of the Defendants—Kratos Investments, LLC, Health Team

  One, LLC, and Richard Ryscik (the “Kratos Defendants”), and had been ordered by the Broward

  Circuit Court to arbitrate the claims that it filed separately against three other Defendants—Adam

  Beeman, Joy Stormont, and Prodigy Health Group, LLC (the “Prodigy Defendants”). As the

  claims that Plaintiffs brought against the different groups of Defendants in the two state court

  actions arise out of the same alleged operative facts as in this action that Plaintiffs filed more than

  a year later and only after obtaining unfavorable rulings in the state courts, Defendants expected

  that Plaintiffs would simply seek to amend their demands for arbitration in one or both of the two

  pending arbitrations to assert their claims from this action in those arbitrations. Instead, Plaintiffs

  filed a new, third demand for arbitration with the AAA which would require a new agreement

  regarding the selection of a third arbitration panel.

         Defendants were not the only ones that construed this Court’s Order as requiring Plaintiffs

  to amend their demands in the arbitrations that they instituted after being ordered to do so by the

  Florida state courts. The AAA, after reviewing this Court’s Order, was also unable to ascertain

  any agreement by the parties to commence a new arbitration with the AAA. Defendants requested

  time to seek clarification from this Court, and along with all parties, have agreed to having the

  third, duplicative AAA proceeding held in abeyance pending further instructions from this Court.

  Plaintiffs suffer no prejudice from this abeyance as they are free to seek leave to amend their

  demands for arbitration in either or both of the two already pending proceedings with the two

  groups of Defendants. Moreover, even if a third proceeding were contemplated by this Court, in




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  the interests of judicial economy, this third proceeding involving the same parties and same

  nucleus of operative facts would likely be stayed pending resolution of the first two arbitrations.

         Any interpretation of this Court’s Order other than as requiring Plaintiffs to seek leave to

  amend their demands in the existing arbitrations ordered by the Florida state courts would be

  unfairly prejudicial to the Kratos Defendants. First, the Court’s Order provides that Plaintiffs are

  required to submit their dispute to “binding arbitration as provided in the Motion”. In their Motion,

  Defendants requested as alternative relief that the Court “require ICD to arbitrate its claims against

  Defendants as it was previously ordered to do.” Defendants even attached ICD’s Demand For

  Arbitration against the Kratos Defendants as an exhibit to their Motion. See (ECF No. 34-5).

  Moreover, three days after filing their Opposition to the Motion in which Plaintiffs consented to

  arbitration, Plaintiffs filed a Demand for Arbitration against the other Defendants with whom they

  had been ordered to arbitrate by the Broward Circuit Court. See (ECF No. 50-1). If Plaintiffs, after

  having had more than a month to contemplate Defendants’ Motion, thought Defendants were

  suggesting a new arbitration with all Defendants, Plaintiffs would not have filed their second

  arbitration including only some of the Defendants and none of the causes of action from this action

  three days after consenting to arbitrate their claims in this case. The only logical explanation is

  that Plaintiffs are trying to multiply the proceedings and increase the costs for Defendants.

         Moreover, judicial estoppel precludes Plaintiffs from submitting the Kratos Defendants to

  two arbitrations based on the same nucleus of facts. Notably, in the action that Plaintiffs filed

  against the Kratos Defendants in Miami-Dade Circuit Court, the Kratos Defendants twice sought

  to have the case transferred to Broward County so that it could be consolidated with the case that

  Plaintiffs filed against seven of the other defendants there. Each time, Plaintiffs opposed the

  Kratos Defendants’ motions to transfer arguing that the “the factual disputes underpinning [the




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  Miami] case and the Broward case are different”, see (ECF No. 64-1) at p. 15, and that “the

  factual disputes underlying the two cases are different,” see (ECF No. 64-2) at p. 8. Relying

  upon Plaintiffs’ representations, the Miami-Dade Circuit Court denied both motions to transfer,

  and the Third District Court of Appeal affirmed one of those denials. Having prevented transfer

  based on these representations, Plaintiffs changed tactics, adopted a diametrically opposed position

  from the one it took before the Miami-Dade Circuit Court, and now seeks to do the opposite of

  what it previously opposed. Judicial estoppel prevents litigants from doing what Plaintiffs have

  done. See New Hampshire v. Maine, 532 U.S. 742, 749 (2001) (“[w]here a party assumes a certain

  position in a legal proceeding, and succeeds in maintaining that position, he may not thereafter,

  simply because his interests have changed, assume a contrary position, especially if it be to the

  prejudice of the party who has acquiesced in the position formerly taken by him.”).

          As a result of the position that Plaintiffs took before the Miami-Dade Circuit Court and

  succeeded in maintaining, the Kratos Defendants are in a completely different position than the

  other defendants. First, in the arbitration proceedings that ICD initiated against the Kratos

  Defendants, the parties have already reach several significant agreements. For example, the parties

  have agreed that the final hearing in the arbitration with the Kratos Defendants will not occur until

  after a final hearing in four consolidated Agent Arbitrations.2 This is significant because if ICD

  loses its arbitrations against the individual agents, collateral estoppel will greatly narrow the issues



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    After commencement of actions in the Broward and Miami-Dade Circuit Courts, ICD also
  commenced a series of eight (8) actions, each against an individual alleged to be a former ICD
  insurance agent. The same agents are referenced by name in each of the Broward and Miami-
  Dade circuit courts, and the alleged breach of those agents’ agreements is, in one form or another,
  at issue in each of the consolidated Agent Arbitrations. Indeed, Kratos and the other parties to that
  arbitration cannot be liable for tortious interference if, in fact, the agents establish that there was
  no breach of their agreements. Accordingly, it made logical sense for the Agent Arbitrations—
  which also happen to have been the first of the arbitrations commenced—to proceed to a decision
  first.


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  to be resolved, if any remain, in the arbitration with the Kratos Defendants. Additionally, before

  the Miami-Dade Circuit Court ordered ICD to arbitrate its claims against the Kratos Defendants,

  the court had allowed the parties to engage in extensive discovery. ICD and the Kratos Defendants

  have agreed that the discovery that occurred prior to the entry of the order compelling arbitration

  can be used in the arbitration proceedings between those parties. Finally, the parties in the Kratos

  arbitration have already agreed on the process for the selection of an arbitration panel. Each side

  has already selected an arbitrator, and, if accepted, those two arbitrators will soon select a third

  arbitrator to complete the panel. Requiring Kratos to basically “start over” from square one after

  ICD succeeded in representing to the Miami-Dade Circuit Court that the factual disputes between

  ICD and the Kratos Defendants were different from its disputes with the other defendants would

  be unfairly prejudicial and costly.

         Accordingly, the Defendants request that this Court clarify that its Order requires ICD to

  seek to raise its claims in this action in the existing arbitrations, and that the Order does not

  authorize ICD to file an entirely new demand for arbitration requiring ten (10) of the defendants

  to defend themselves in two separate arbitration proceedings with two separate panels where the

  exact same facts would be in dispute in each arbitration.


  Dated: September 24, 2021                            Respectfully submitted,

                                                      /s/ David M. Stahl
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